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                          EXHIBIT B




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C.O.N.C.O.R.D                                               https://www.concord-sots.ct.gov/CONCORD/online?sn=PublicInq...
                           Case 3:20-cv-01564-SRU Document 1-2    Filed 10/15/20 Page 2 of 2


                                              Connecticut's Oﬃcial
                                              State Website


                                           The Oﬃce of

                                           S ecretar y of the State D enise W. Mer rill
         Business Inquiry
         Business Details
                 Business Name: OPS - TECHNOLOGY, LLC                                Citizenship/State Inc: Domestic/CT


                       Business ID: 1221367                                      Last Report Filed Year: 2018


                Business Address: 10 STONCREST RD, RIDGEFIELD, CT, 06877                  Business Type: Domestic Limited Liability Company


                 Mailing Address: 10 STONCREST RD, RIDGEFIELD, CT, 06877                 Business Status: Active


             Date Inc/Registration: Nov 01, 2016


          Annual Report Due Date: 03/31/2019


                      NAICS Code:   NONE                                               NAICS Sub Code:    NONE



         Principals Details
         Name/Title                        Business Address                      Residence Address

                                           10 STONECREST ROAD, RIDGEFIELD, CT,
         RICHARD ARITA OWNER                                                     10 STONECREST ROAD, RIDGEFIELD, CT, 06877
                                           06877



         Agent Summary
                              Agent Name RICHARD ARITA


                  Agent Business Address 10 STONECREST ROAD, RIDGEFIELD, CT, 06877


                Agent Residence Address 10 STONECREST ROAD, RIDGEFIELD, CT, 06877


                      Agent Mailing Address NONE




1 of 1                                                                                                                                        7/10/20, 4:05 PM
